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     LAPD RESERVE SERVICE
           LETTERS

                 Submitted on behalf of
                Mitchell Englander




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July 10, 2020



Honorable John F Walter
United States District Court
350 W. 1st Street
Los Angeles, California 90012

Dear Judge Walter,

First I would like to thank you for taking the time to read my letter. I hope you take in consideration my
experiences, time and feelings about Mitch Englander the person.

My name is Mark Blizzard and I worked for LAPD as an officer (P-3) for approximately 30 years. I worked
many elite units like Foothill Gang Unit, Metro B-Platoon and Supervised Devonshire Reserve Officers
and all the Volunteer Units at Devonshire Division (Approx 300 Volunteers).

I met Mitch Englander, approximately 15 years ago as he was a Devonshire Reserve Officer. During that
time I was in charge of Mitch Englander and his Reserve Officer Duties. Mitch Englander was an
outstanding Reserve Officer, giving up his time unselfishly assisting the citizens of the Valley and City of
L.A. Mitch was highly respected with his fellow Reserve Officers, Devonshire Officers and Devonshire
Supervisors.

Mitch Englander was very involved with all the Volunteer Units that I was in charge of (Volunteer
Surveillance Team, Volunteer Community Patrol, Volunteer Mounted Patrol, Volunteer Bike Patrol,
CEMP, CPAB and PALS). He worked alongside with all these units and supported them in all their
activities. I honestly was amazed at how much time and effort Mitch Englander gave to all these Units
and individuals that were volunteering their time to these units.

When Mitch Englander was appointed to the City Council (CD12) He never stopped doing his Reserve
Duties along with supporting the above Volunteer Units. He was always there for them and was always
willing to support any training for them and the Officers. He was always about public safety for all
citizens in the community.

While working and spending time with Mitch Englander (15 years). I have learned what a great person
he is and how close he is to his family. I have learned over my 55 years on this earth that everyone is not
always perfect and we all make mistakes during our life on earth. I am hoping your Honor that you take
this in consideration and have compassion for Mitch Englander. He is truly a good person and does not
need to be incarcerated to learn from his mistakes. He has a great family and they also would be
devastated.

             our consideration Your Honor and if you have any further questions please feel free to call
 me

Sincerely,




Mark Bliss Blizzard




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                                SEAN PENN
                               Actor – film director
                                 Los Angeles, CA

July 19, 2020


The Honorable John F. Walter
United States District Court
350 W. 1st Street, Los Angeles 90012

Your Honor,

My name is Sean Penn. I’m an actor and film director based in Los Angeles. In addition, I am
co-founder and Chairman of The Board for Los Angeles based, CORE (Community Organized
Relief Effort). CORE (formerly JPHRO) began as a disaster relief NGO in Haiti after the 2010
earthquake in that country. Since that time, we have worked in Pakistan, Liberia, Bahamas,
Puerto Rico, and throughout the continental United States.

I am writing you here on behalf of Mitch Englander.

I first met Mr. Englander on the afternoon of November 9, 2018. On the previous day, the
Wolsey fire had moved to threaten my current neighborhood of Point Dume in Malibu.




               . So, I got up and drove to several supply stores, buying drinking water, fire
extinguishers, generators, masks, virtually anything I could fill the bed of my truck with that
might help my neighbors.
                               I then drove toward Malibu.

When I arrived at the Police check point, I was told that despite the fact that I was a resident of
the area, I would not be permitted thru.
                                                             I was a disaster relief worker with
nearly a decade of experience in conflict zones, earthquakes and hurricanes and would know to
drive cautiously and to not take any risks to myself or others. I further pointed out the much-
needed supplies I had for delivery to those on the front line of the fire. I was denied. I call the
police dispatch and waited hours to speak to a commander. No contact.

While waiting at a gas station adjacent this check point, Mitch Englander pulled up from the
direction of the fire. Though he was in plainclothes in an unmarked SUV, I saw his police badge
on his belt. I explained to Mr. Englander my predicament.



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As I hurriedly thanked him, we exchanged phone numbers (he had to hurry back to his duties,
and I had to                  and drop supplies). He asked that I call him simply to let him know
if I had any trouble getting out of Malibu safely.

When I did call later that evening, we commiserated on what had been a trying day for all. That
led to future conversations and a building friendship. In the months and years that followed, I
have gotten to know Mitch a bit better with each passing episode. I saw his commitment to his
family, and to his friends. I saw a politically conservative American engage respectfully in
political discourse with those of different philosophy (including myself). I saw a good and caring
man.

Then, last year a dilemma was brought to me.




Your honor, I know none of the details of Mitch’s case. Only that he is contrite and embarrassed.
I am writing from a different angle. I’m writing as witness to the unique value a person like
Mitch brings to people. That, I know well, and hope can play some little role in your decision as
to the disposition of his case.

Respectfully,


Sean Penn




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                        A notefrom...

                                     Sergeant-II Lawrence Bavaro


                                           -
                                  Devonshire~                      Coordinator


                                                                                          Date: July 18, 2020
 RE: CHARACTER REFERENCE FOR MITCHEL ENGLANDER

·· Honorable John F. Walter
   United States District Court
   350 W. 1st Street
   Los Angeles, CA. 90012

 Dear Judge Walter:

 I have known Mitch and his family for approximately 12 years. I met Mitch while he was working l;lS a
 Reserve Police Officer at Devonshire Division and Councilman Greig Smith's Chief of Staff. Our
 relationship started as a work relationship and quickly transitioned into a friendship. A person's character,
 morals and values, is the crucial foundation of what makes a person who they truly are. The first thing I
 noticed about Mitch is that he is a person of high morals, values, and has a strong and positive character.

 Mitch is dedicated to his community, and I would like to point out just a small fraction of what he has
 accomplished while a Councilman, and reserve officer. He has personally done a lot for his community
 and for the Officers and Volunteers here at Devonshire Division. Mitch has vohmteered for numerous
 worthy charitable organizations, such as Supporters Of Law Enforcement in Devonshire (S.O.L.I.D)
 which raises money to support Devonshire, and our Police Athletics League Supporters (PALS) where he
 was an executive board member, and was instrumental in raising funds to build the PALS center for after
 school care of our community youth. For the past 20 years, he has participated in our annual Pancake
 Breakfast which is a fundraising event for our SOLID organization. He was instrumental in setting up and
 funding our Voluntary Community Patrol program, which has now expanded to Topanga Division and is
 being modeled to expand city wide. He has provided grants to get very needed equipment for Devonshire
 Division such as storage sheds, cargo trailer, equipment for our Cadet program and a needed remodeling
 of our Rollcall Room, Break Room, Watch Commander's office and the front desk. Mitch continually
 demonstrates he is a man of character and integrity.

 I had a long and emotional conversation with Mitch over his court case. The first thing he told me was he
 made a mistake and is taking full responsibility for it. He apologized to me for his actions and asked me
 for forgiveness, which I gave him. Mitch made a mistake, which he regrets, and is taking ownership of it.
 I know him to be a good upstanding citizen, a religious man, and a devote family man who loves his wife
 Jayne and is a doting father of his two daughters Lindsey and Lauren. These court proceedings have
 affected him and his family immensely, who have stayed strong and supportive of Mitch throughout this
 ordeal.

 I believe Mitch has learned from this error in judgement and would ask for you to consider a sentence of
 Probation and Community Service in lieu of any prison sentence.

                                                               Very truly yours,



                                                Exhibit D-3
                                                            ~(Z-6~
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                   SAINT NICHOLAS GREEK ORTHODOX CHURCH

METROPOI.IS Of
SAN fRAl'\CISCO

     July 27. 2020


     Honorable John F. Walte-r
     Urli.ted States District Court
     350 W. ·t st Street
     Los Angeles, California 90012

    Dear Judge Wafter.
     I have known Mitch Englander for approximately twenty years primarily
     through his involvement and employment in the offices of the 12th
     Councilmanic District of Los Angeles. As time passed he rose to Chief
     Deputy- under Councilman Smith and later of course elected as
     Councrfman himserf. Our cordial retafionshfp earry on grew. into a
     friendship. This was not a social friendship but one of mutual respect
     gained and earned by our mutual involvement in the community.
     J have been a c.h®.lain for the Los An~eJes PoUce Departmenlfor about
     twenty-five years. Mitch enrolled and graduated from the police
     academy during that time: hence a bond.
     In 2005 I was appointed to the Planning Commission of the City of los
     Angeles. Mr. Englander was chief deputy of the 12th Councilmanic
     District during my afmost seven- years as Commissioner. yet another
     interaction.
     During my years as Pastor of Saint Nicholas Church and rater as Pastor
     Emeritus, even more involvement as we worked in the Community.


     Unequivocally, .and without the least bit hesitation) I am able to say,
     neverf ever, did I see or even sense any impropriety in his demeanor or



                         GREEKORTHODOXARCHDIOCESE OF AMERICA
                                    Web Site: www.goarch.org            Exhibit D-4
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behavior. To all of us who knew and loved him and his family, and still
do, his crime came as a great surprise!
Though the Englanders are not members of my congregation I have
spoken with his wife Jane several times since then . She is an admirable
and courageous woman who has come to grips with this sad reality.
She loves her husband and with their daughters have chosen to be
forgiving, supportive and loving as he goes throu_gh the pain of
introspection, healing , and restitution for his deeds.
Your Honor, I know Mitch to be a good person_Though I am aware this
is a simple and oft used statement yet in his case it is burst1ng with
meaning. I was honored to speak at the tenth anniversary of
the Chatsworth train wreck and shared remarks as a window into
who ·Mitch is. I watched him do what no other civilian volunteered to
offer for that heart wrenching duty: removing bod ies and body parts
from the first passenger car.
It has always been difficult for me to fully comp rehend how and why we
misspell words as we write the story of ou r lives. Of course, that is why
pencils have erasers. But the erased misspelled word still leaves a
smudge.
I humbly plead with you , and really for his wife and young daughters
whose future is also impacted in multiple ways, to grant probatio.n
rather than incarceration. The "smudge" is punishment enough. He is
contrite. Please allow his community service and probation be the
impetus for restitution and rehabilitation. I thank you.




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July 24, 2020
Mr. Bernard Khalili



RE: Character Reference Letter for Mitchell Englander


Your Honor,

This letter serves as a character reference for my good friend Mitchell Englander. I sincerely
hope that you will be able to read it in its entirety as my long-standing relationship with him will
attest to his continuous role as a generous and morally upstanding citizen.

My name is Bernard Khalili. I am aware of the charges presented against Mitchell Englander for
not being truthful to a federal investigation. I am 51 years old, married, the father of three
daughters, and the CEO of a property management company in Los Angeles. I met Mitchell
Englander over 10 years ago, before he was an elected official. I had the privilege of meeting
Mitch through our service as reserve police officers within the LAPD. Through my countless
experiences serving with Mitch in the LAPD, I remain convinced that Mitch is one of the most
caring and compassionate people I have ever'had the pleasure of working with. The reserve
police officer motto of "being twice a citizen" could not be more appropriate when describing
Mitch. Mitch has a very committed nature in anything that he decides to pursue and this
commitment is tied his desire to constantly impr~ve our community. For example, in one
instance when working with Mitch, we were experiencing radio miscommunications and could
not adequately work with the LAFD. When we realized that there was a huge communication
issue between departments, he took it upon himself to personally research how to resolve this
issue and later as a city councilman, he enacted radio reforms where we could effectively and
efficiently entertain inter-agency communication-a critical contribution that in my estimate, has
saved hundreds of lives. In terms of his generosity, knowing him as a personal friend for years
has demonstrated his commitment to public service in countless other ways than his service in
the LAPD. Mitch served on the board of over one dozen non-profit organizations, and he
actively partook in all of his commitments. He proactively raised awareness and funds for these
non-profit organizations, and was fueled by his desire to improve his community and the lives of
his constituents and non-constituents alike. For these reasons, he has been and remains an
inspiration of mine for his dedication to public service.
               '
While I am sometimes hesitant to support public officials, I have consistently supported him
throughout his elected career because he had proven to me his caring, involved, and generous
nature throughout our personal and professional friendship. I never observed him having a
personal agenda when enacting reforms, but rather observed a dedicated public servant who
cares deeply about his constituency. In summary, I have always found Mitch to be of genuinely
good character and consistently helpful to anyone who crossed his path.

Mitch is also an outstanding and very supportive father to his 2 daughters whom he adores. He is
a loving husband to Jayne, his high school sweetheart. He understands the gravity of his mistake




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on his family, and that it has not only threatened his family's reputation, but his mistake
threatens to separate him from his family. If Mitch were to be served with a prison sentence, his
familial stability and structure would be greatly impacted as he has always been a very involved
father, and his family would greatly feel the loss of his constant presence.

When I try to explain what Mitch has done to everyone who asks, I'd like to refer to him being a
good guy who made a stupid mistake. He has shown extensive and genuine remorse for his
mistake, demonstrating that he understands the gravity of his actions. It is my opinion that Mitch
has already dearly paid his debt to society for the mistake he has made. He has lost his job, he
has lost his reserve officer status-one of his most important accomplishments-and he
experiences shame on behalf of himself and his family's reputation and will have to live with this
heavy burden for the foreseeable future.

Your Honor, I write you this letter to offer my impressions of Mitch's character, which lead me
to believe that he is a genuinely kind, compassionate, and devoted citizen who exercised poor
judgment and in doing so, compromised everything great he ever did. While there are no excuses
for his actions, it is my strong personal belief that he has not only genuinely expressed
strong remorse but he also has already paid a tremendous "price" for what he did.

Kind Regards,

  ~ll
Bernard Khalili




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                                  PAUL H. BURLEIGH, ESQ.




                                           July 24, 2020


 Honorable John F. Walter
 United States District Court
 350 W. 1st Street
 Los Angeles, California 90012

        Re: Mitch Englander

 Dear Judge Walter:

         I write this letter for consideration in the upcoming sentencing hearing following Mr.
 Englander's recent plea agreement. It is critically important that the court have a full and
 complete picture of Mr. Englander and to consider numerous factors that attest to his character
 and his service to the community. Poor choices need to be addressed appropriately but at the
 same time, put in context with a person's background, history, character, contributions to the
 community and commitment to friends and family.

         I have been a practicing attorney for thirty-seven years and am currently a partner and
 shareholder with Klinedinst PC, a California based law firm. I first met Mr. Englander in 2008
 when he was serving as Chief of Staff for former City Councilman, Greig Smith. I was
 impressed with his enthusiasm, his energy and his ability to communicate with people. I
 supported his candidacy for City Council when Mr. Smith announced his retirement. I attended
 events, watched his campaign closely, interacted with him and his family during that process,
 and was pleased that his campaign was successful.

        Concurrently, I have been a member and officer of a 501(c)(3) corporation known as
 California Emergency Mobile Patrol (CEMP). Our organization has been in existence since 1962
 and we serve as a "go to" search and rescue team affiliated with the Los Angeles Police
 Department through its Devonshire Division where CEMP is based. We have approximately fifty
 members and respond to a variety of requests from LAPD including evidence searches, "eyes
 and ears", lighting call outs for traffic fatalities and crime scene needs, and critical missing
 searches. We work hand in hand with sworn officers and have become a vital resource for the
 department that is routinely called upon for assistance.

        During my tenure with CEMP, I have served as its President as well as its Vice-President
 of Public Relations. I have interacted with Mr. Englander in that capacity on behalf of CEMP.
 My wife and I have also interacted with Mr. Englander on a personal level on numerous
 occasions over the years as our families are friends.




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 Honorable John F. Walter
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         During Mr. Englander's tenure as City Councilman, I have followed and supported his
 actions on behalf of our community and have been impressed with how involved he became with
 so many organizations in our community, including those non-profits affiliated with LAPD such
 as CEMP, SOLID (Supporters of Law-enforcement in Devonshire), P.A.L.S. (Police Activity
 League Supporters), and other exceptional volunteer organizations. His commitment and support
 for each of these organizations and the vital role they served was second to none. I attended a
 number of community meetings and events and observed him interact with his colleagues and
 constituents. I have also observed City Council meetings. Mr. Englander was passionate and
 outspoken about his ideas which were always directed at making the community a safer and
 better place to live and were in the best interests of those that he served.

         Mr. Englander actively campaigned for funds necessary to support community volunteer
 organizations and was successful in securing funds for each of them. As a non-profit, CEMP
 relies entirely on donations to fund its operating expenses, purchase vehicles and equipment, and
 keep its medical supplies current so that CEMP can continue to function in a "mission ready"
 status. CEMP worked extensively with Mr. Englander in support of his efforts to highlight the
 benefits of CEMP and to secure funding to assist with some it its operational needs. We met with
 Mr. Englander regularly and I formed the impression that he actively and aggressively fought for
 that funding. As the sole Republican on the council, the challenges were numerous and the
 competition for the limited funds available for such endeavors was fierce.

         As a result of Mr. Englander's efforts, the city council was educated about the services
 that CEMP provides to LAPD. The council recognized the value those services had for the
 community and arranged to provide some financial support for CEMP that allowed it to address
 some of its equipment and vehicle needs and to become better equipped to handle the challenges
 of a search a rescue team, and make it an even more valuable resource to the LAPD and the
 community.

         It is my understanding that Mr. Englander has demonstrated similar efforts on behalf of
 SOLID and P.A.L.S. and has secured funding that was put to good use by those organizations.
 All of CEMP's interactions as well as my own interactions with Mr. Englander have been
 positive experiences and I always felt that he was completely committed to CEMP's success and
 the betterment and success of our community. He was a force to be reckoned with and a strong
 advocate for the people. He was the kind of person community members would want advocating
 for their rights and I felt very comfortable having him in this role. During all of my interactions
 with Mr. Englander both on personal and professional levels, I never observed conduct on his
 part that was unlawful, unethical or even questionable. As a result, I felt his future in politics was
 bright and his enthusiasm for community service infectious.

         Since the events giving rise the current situation, I have spent time with Mr. Englander
 and have been curious as to how this has affected him and his family. I have discussed the events
 with him and have observed his demeanor and his conduct. At the very least, on a personal level,
 this has been a humbling experience for Mr. Englander. I have seen sincere introspection on his
 part and have engaged in philosophical discussions with him on the issues. He has dissected the



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 Honorable John F. Walter
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 events that led up to where he is today, and has analyzed those events from every perspective.
 Crossing the line was a gradual progression of events that simply went too far. Mr. Englander
 has expressed remorse to me over the decisions he made and the impact that it has had on his
 family, himself, his friends, and his community. There is no doubt in my mind that this has had a
 profound effect on Mr. Englander which he will carry with him for the rest of his life.

         Mr. Englander and his wife Jayne have had a strong and supportive marriage during the
 time I have known them. My wife and I have watched them interact with others as well as each
 other. The bond that they have will see them through this difficult time and Jayne has been
 extremely supportive and understanding in spite of the circumstances. They lean heavily on each
 other and their strong relationships with their two children, Lindsey and Lauren. Both are well
 adjusted and educated young women and have bright futures ahead of them, none of which
 would have been possible without the love and support of their parents which was obvious
 whenever I saw them together.

          Mr. Englander's positive outlook on life and confidence and enthusiasm for making a
 better life for himself and his wife when this is over will not be deterred. He is anxious to
 embrace his professional goals for the future, and pick up the pieces of his damaged career. He
 has expressed that these events will be foremost in his mind as he engages in business endeavors
 in the future and I am confident this will include an ethical and moral evaluation of each
 transaction he encounters.

         Imprisonment seems so inappropriate in the face of what he has learned and the efforts he
 is making to become a better person. Compassion demands that Mitch Englander, the whole
 person, be taken into consideration in assessing punishment, not just the unfortunate chain of
 events that led to this. Mr. Englander has done some wonderful things for our community and
 has a bright future ahead of him in spite of his mistakes. I would like to see him start on that road
 as soon as possible. He has already suffered for the last two years. While their marriage is strong,
 only Mitch and Jayne know the true effect this has had on that marriage. Although damaged,
 they will survive this, but they need to be together to do this.

          It has been an honor and a privilege to have Mr. Englander and his family in my life and
 to have associated with him on a professional level through CEMP and the Los Angeles Police
 Department. I think no less of him now than I did before these events occurred. Everyone makes
 mistakes in life, and we are all accountable for our own actions. Mr. Englander made a mistake
 that ended his career in politics, shattered his confidence in himself, and alienated his
 constituents and many of his supporters. It had a profound impact on his marriage and his public
 persona, as well as the life he was accustomed to. He is forever branded which will affect certain
 aspects of his life until the day he dies. This punishment is life changing and adding prison time
 to this punishment seems counterproductive and pointless. Regardless of the outcome, I am
 confident that Mr. Englander is a better person and will conduct himself morally, ethically and
 lawfully in whatever he is tasked with in the future.




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 Honorable John F. Walter
 July 24, 2020
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        Thank you for taking the time to consider this, and I hope you find it helpful in
 determining a sentence that is appropriate under the circumstances .

                                              Sincerely,




                                              Paul H. Burleigh, Esq.


 PHB:pb

 18658665.1




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 Dear J uclge Walter,

 My name is Steve Robinson and my wife is Janet Crown. I am 59 years old and a resident, since
 1983, of Los Angeles. I moved here from a suburb of Detroit and brought with me strong Midwest
 values. My wife is 56 and moved to Los Angeles from Chicago in 1994. We have been married for
 ten years and have five children between us, two wonderful girls from my first marriage and three
 children (two boys and a girl) from Janet's first marriage. Our children range in age from 16-29, our
 oldest is due in August with our first grandchild.

 I began my career while in college as an entrepreneur and ostensibly retired in 2010 when I
 embarked on my current passion which is being a Reserve Police Officer for both the Hawthorne
 and Los Angeles police Departments. I currently am full-time with the LAPD's Major Crime
 Division, Transnational Organized Crime Section. My wife and I, along with a longtime friend, also
 own a Brewery in Anaheim. Janet has been in the health and fitness industry for the past 17 years
 owning boutique fitness studios in the Los Angeles area.

Janet and I are very active in our community. We have started and/ or support multiple charitable
causes, focusing on four major verticals - disadvantages/ at-risk children, Jewish causes,
terminally/ chronically ill children, and law enforcement/ military. Between us we serve on the
following boards: LACMA, Simon Wiesenthal Center, The Painted Turtle, Lollipop Foundation,
Project Blue, Run TO Remember,Jewish Graduate Student Initative OGSI), Children's Hospital Los
Angeles (CHLA) Operation Progress, Crown Center for Middle East Studies at Brandeis, Cedar
Sinai Board of Governors, and RAND.

 I have known Mitchell Englander for eight years. I am fully aware of the charges to which Mitchell is
 accused and has pled guilty. I met Mitch by way of another friend who is a Reserve Officer for
 LAPD. This friend introduced us as two people that would find interest in the other as both of us
 are Reserve Officers and very civic minded. Over the course of our relationship, Mitch has helped
 me navigate the political climate in Los Angeles, as I am interested in politics and have supported
 many candidates for numerous city, county, state and national positions. Mitch has also been helpful
 in introductions and strategies which lever my desire to provide more impactful assistance to areas
 of the city in need.

Knowing Mitch, as I do, I have found him to care deeply about the community he served. I saw
compassion and interest in helping people whenever he was able, without thought or expectation of
personal gain. As an example of his desire to serve during the Malibu fires of two years ago, I
received a call from Mitch, in the middle of the first night of the outbreak when people were being
asked to evacuate. He said, "Steve, get your gear on, we are going to Malibu to assist in the
evacuation." The next three days were spent in the trenches escorting people and pets to safety. I
have witnessed Mitch take this same selfless, caring concern for his family. Janet and I have spent
much time with Mitch and Jayne. We have been quite impressed with the love and care they show
one another. The humor they enjoy together and the attention and guidance they give to their
children it very inspiring. They are always an absolute joy to be around. Janet and I have often
commented on how wonderful they are together.

Mitch has been a dedicated public servant over the past decade and a half. As Councilmember, he
served as Chair of the Public Safety Committee overseeing the policy and operations of the Los
Angeles Police Department, Los Angeles Fire Department, Counterterrorism, Cyber Security, and



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 Emergency Preparedness and Response. What I am most impressed with is his service in helping to
 create the American Diabetes Association Los Angeles Political Roast which not only brought
 people from all sides of the political spectrum together, it has raised over $10 million since
 inception. With all of his involvement in government and charitable work, one might find a
 plethora of negative comments about Mitch, after all, taking a position and fighting for it is not a
 popular idea in this country, of late. In all the time I have known and been around Mitch, I have
 rarely, if ever, heard a negative comment. There is plenty of disagreement across the aisle, yet the
 comments I hear and the behavior I observe most is one of admiration, collaboration and goodwill.

 We had lunch with Mitch and Jayne approximately six weeks ago. I have never seen the two of
 them more devastated and contrite. Mitch had no one to blame but himself and was shocked at
 how stupid he was to have gotten himself into such a position. Both, Mitch and Jayne, seem
 genuinely remorseful and willing to do anything to right the wrong he had committed. I was
 particularly impressed with Jayne and her devotion to Mitch during, what must be, the most difficult
 time in their life together. I think this devotion speaks volumes to the kind of man Mitch is and the
 relationship he has developed and nurtured with his wife and family. I have worked with quite a few
 AUSA's and the alphabet soup, of what is the federal law enforcement apparatus. I can say,
 unequivocally, all persons who are considered suspects/ targets/ person interest, believe they have
 done nothing wrong and typically blame others or the government for their misfortune. As I said,
 this is not the case with Mitch. He has thoroughly acknowledged his wrongdoing and is prepared
 for his punishment.

 I don't believe this is a man who needs to spend time incarcerated to learn a lesson. I am of the
 belief that he has learned his lessons and should be given the opportunity to serve a significant
 amount of public service, where he can provide a tremendous amount or good, to make restitution.
 Just the fact he has been indicted and pled guilty has caused him to forfeit any future in any public
 office and has damaged his reputation in a way that will make it nearly impossible to re-enter into
 the business community in his previous the capacity I believe the hardship to his family and career is
 far out weighted by the incremental impression made on Mitch by prison time.

 Mitch is a loyal, honest, hard working good person who only wants to help others. If he wasn't, we
 would not associate with him and his family.




                                              Exhibit D-7
                                               Page 78
